               Case 2:21-cv-00105-BJR Document 4 Filed 01/29/21 Page 1 of 2




 1

 2

 3

 4

 5

 6                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 7                                     AT SEATTLE
 8    YOUNG BROTHERS, LLC, A Hawaii                    IN ADMIRALTY
      Limited Liability Company
 9                                                     Case No. 2:21-cv-00105
                              Plaintiff,
10
      v.                                               ORDER FOR ISSUANCE OF
11                                                     WARRANT OF ARREST IN REM
       T/B HOKULANI, OFFICIAL NUMBER                   AND TO SEIZE PROPERTY
12    575737, IN REM, and Hamilton Marine
      Construction, LLC, An Alaska Limited
13    Liability Company
14                                 Defendants.
15

16          Considering the foregoing Verified Complaint and Verification filed herein, and upon
17   determination that the conditions set forth in Supplemental Admiralty Rule D have been met,
18          IT IS HEREBY ORDERED that:
19          1. The Clerk of Court issue a Warrant for the Arrest of the T/B HOKULANI, official
20              number 575737, her engines, rigging, bunkers, tackle equipment, furnishings and
21              other appurtenances (the “Vessel”) which is currently located at within the Western
22              District of Washington;
23          2. The United States Marshal for the Western District of Washington seize the Vessel;
24          3. In executing such seizure, the United States Marshal is authorized to order the crew
25              of the Vessel to navigate the Vessel from waters within the Western District of
26

       ORDER FOR ISSUANCE OF
       WARRANT OF ARREST IN REM AND
       TO SEIZE PROPERTY - 1
           Case 2:21-cv-00105-BJR Document 4 Filed 01/29/21 Page 2 of 2




 1         Washington to a dock, wharf, or similar structure where the Vessel can be safely

 2         boarded by the United States Marshal;

 3      4. Serve a copy of the Verified Complaint and Warrant for seizure upon the person in

 4         possession of the Vessel or his agent;

 5      5. Return the Warrant promptly;

 6      6. The Vessel shall not depart the Western District of Washington while under arrest.

 7         However, the Vessel may perform limited movement within the Port of its arrest

 8         and it may shift berths to perform repairs and cargo operations;

 9      7. Plaintiff, Young Brothers, LLC agrees to release and hold harmless, and indemnify

10         the United States of America, the United States Marshal, their agents, servants,

11         employees, and all others for whom they are responsible, from any and all liability

12         or responsibility for claims arising from the arrest or attachment of the vessel.

13

14      Dated this 29th day of January, 2021

15
                                               ___________________________________
16                                             HON. BARBARA J. ROTHSTEIN
17                                             UNITED STATES DISTRICT JUDGE

18

19

20

21

22

23

24

25

26

     ORDER FOR ISSUANCE OF
     WARRANT OF ARREST IN REM AND
     TO SEIZE PROPERTY - 2
